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   Fill in this information to identify the case:

   United States Bankruptcy Court for the:


   District of Delaware
                                          (State)

   Case number (If known):                                         Chapter 7                                                            ❑ Check if this is an
                                                                                                                                            amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               06/22

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



   1.   Debtor’s name                           Cue Health Inc.



   2.   All other names debtor used             Cue Health
        in the last 8 years                     Cuehealth.com

        Include any assumed names,
        trade names, and doing business
        as names




   3.   Debtor’s federal Employer
                                                2      7   -   1    5    6     2   1     9     3
        Identification Number (EIN)



   4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                               of business

                                                4980           Carroll Canyon Rd.
                                                Number          Street                                         Number      Street

                                                Ste. 100
                                                                                                               P.O. Box

                                                San Diego                              CA          92121
                                                City                                   State       ZIP Code    City                        State        ZIP Code

                                                                                                               Location of principal assets, if different from
                                                                                                               principal place of business

                                                San Diego County
                                                County                                                         Number      Street




                                                                                                               City                        State        ZIP Code




   5.   Debtor’s website (URL)                  www.cuehealth.com




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 Debtor         Cue Health Inc.                                                                Case number (if known)
                Name




   6.   Type of debtor                      ✓Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            ❑ Partnership (excluding LLP)
                                            ❑ Other. Specify:

                                            A. Check one:
   7.   Describe debtor’s business
                                            ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                            ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ✓None of the above

                                            B. Check all that apply:

                                            ❑ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                                5     4     1    7

   8.   Under which chapter of the          Check one:
        Bankruptcy Code is the
        debtor filing?                      ✓Chapter 7
                                            ❑ Chapter 9
                                            ❑ Chapter 11. Check all that apply:
        A debtor who is a “small business
        debtor” must check the first sub-                 ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
        box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
        § 1182(1) who elects to proceed                          affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
        under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
        (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
        “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
        check the second sub-box.                            ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                 Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                 statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                 § 1116(1)(B).

                                                            ❑ A plan is being filed with this petition.
                                                             ❑ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                            ❑ Chapter 12



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 Debtor          Cue Health Inc.                                                                        Case number (if known)
                 Name



   9.   Were prior bankruptcy cases        ✓No
        filed by or against the debtor
        within the last 8 years?           ❑ Yes. District                                       When                            Case number
                                                                                                         MM / DD / YYYY
        If more than 2 cases, attach a
                                                           District                              When                            Case number
        separate list.
                                                                                                         MM / DD / YYYY


   10. Are any bankruptcy cases            ❑ No
        pending or being filed by a
        business partner or an             ✓Yes. Debtor S e e S c h e d u l e 1                                                  Relationship
        affiliate of the debtor?           District                                                                              When
                                                                                                                                                 MM / DD         / YYYY
        List all cases. If more than 1,
        attach a separate list.                            Case number, if known



   11. Why is the case filed in this       Check all that apply:
        district?
                                          ✓ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                          ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

   12. Does the debtor own or have           ❑        No
        possession of any real           ✓ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
        property or personal property needed.
        that needs immediate
        attention?                            Why does the property need immediate attention? (Check all that apply.)

                                                              ✓       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                              safety. What is the hazard? See Schedule 2

                                                       ❑ It needs to be physically secured or protected from the weather.
                                                       ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                              attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                              assets or other options).

                                                       ❑ Other


                                                       Where is the property? See Schedule 2
                                                                                      Number            Street




                                                                                      City                                                      State ZIP Code


                                                       Is the property insured?
                                                       ❑ No
                                                       ❑ Yes. Insurance agency S e e S c h e d u l e 2
                                                                      Contact name

                                                                      Phone




                Statistical and administrative information




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 Debtor         Cue Health Inc.                                                                   Case number (if known)
                Name




   13. Debtor’s estimation of              Check one:
       available funds                    ✓Funds will be available for distribution to unsecured creditors.
                                          ❑After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           ❑ 1-49                              ❑1,000-5,000                                  ❑ 25,001-50,000
   14. Estimated number of
                                           ❑ 50-99                             ❑ 5,001-10,000                                ❑ 50,001-100,000
       creditors
                                           ❑ 100-199                           ❑ 10,001-25,000                               ❑ More than 100,000
                                           ✓ 200-999

                                           ❑ $0-$50,000                        ❑ $1,000,001-$10 million                      ❑ $500,000,001-$1 billion
   15. Estimated assets
                                           ❑ $50,001-$100,000                  ❑ $10,000,001-$50 million                     ❑ $1,000,000,001-$10 billion
                                           ❑ $100,001-$500,000                 ❑ $50,000,001-$100 million                    ❑ $10,000,000,001-$50 billion
                                           ❑ $500,001-$1 million               ✓ $100,000,001-$500 million                   ❑ More than $50 billion

                                           ❑ $0-$50,000                        ❑ $1,000,001-$10 million                      ❑ $500,000,001-$1 billion
   16. Estimated liabilities
                                           ❑ $50,001-$100,000                  ❑ $10,000,001-$50 million                     ❑ $1,000,000,001-$10 billion
                                           ❑ $100,001-$500,000                 ✓ $50,000,001-$100 million                    ❑ $10,000,000,001-$50 billion
                                           ❑ $500,001-$1 million               ❑ $100,000,001-$500 million                   ❑ More than $50 billion


               Request for Relief, Declaration, and Signatures


   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
              $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


   17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                                petition.
       debtor
                                                I have been authorized to file this petition on behalf of the debtor.

                                                I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                            I declare under penalty of perjury that the foregoing is true and correct.

                                               Executed on   0 5 / 2 8 / 2 0 2 4
                                                             MM / DD / YYYY


                                            /s/ Ian Sinnott                                                  Ian Sinnott
                                               Signature of authorized representative of debtor               Printed name


                                               Title Authorized Representative_________




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 Debtor         Cue Health Inc.                                                            Case number (if known)
                Name


 18. Signature of attorney                /s/ Erin R. Fay                                              Date         05/28/2024
                                          Signature of attorney for debtor                                          MM/DD/YYYY


                                          Erin R. Fay
                                          Printed name

                                          Wilson Sonsini Goodrich & Rosati, P.C.
                                          Firm name

                                          222                      Delaware Ave, Suite 800
                                          Number                   Street

                                          Wilmington                                                           DE                 19801
                                          City                                                                 State                  ZIP Code

                                          (302) 304-7600                                                       efay@wsgr.com
                                          Contact phone                                                               Email address

                                          5268                                               DE
                                          Bar number                                         State




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                                            SCHEDULE 1

                      Pending Bankruptcy Cases Filed by Affiliated Entities

          On the date hereof, each of the related entities below, including the debtor in this chapter

7 case, filed a petition in the United States Bankruptcy Court for the District of Delaware for

relief under chapter 7 of title 11 of the United States Code.

                                                      Federal Employer Identification Number
                     Entity Name
                                                                      (EIN)
 Cue Health Inc.                                     XX-XXXXXXX
 CHP HC, LLC                                         XX-XXXXXXX
 TrustedMedRx, LLC                                   XX-XXXXXXX




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                                            SCHEDULE 2

                               Property Requiring Immediate Attention

          In light of the chapter 7 filing, the Debtors have ceased ongoing operations. The subsequent

custodianship, management, and preservation of the Debtors’ pharmaceutical products and related

materials is of high priority. Prior to the filing of these chapter 7 cases, the Debtors took various

steps to ensure that any assets they believe may pose a threat of immediate and irreparable harm

to public health or safety were identified and properly protected. Specifically, the Debtors retained

several key former employees, including a pharmacist, as independent contractors to perform

health, safety, maintenance, and security checks in and around the facilities, among other steps.

All applicable insurance policies will be provided to the chapter 7 trustee once appointed.

          The Debtors believe that their facilities located in the following cities may hold assets that

pose, or are alleged to pose, a threat of immediate and identifiable harm to public health or safety:

               •   Boca Raton, Florida

               •   San Diego, California

               •   Vista, California




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                                         Chapter 7

 CUE HEALTH INC.,                                               Case No. 24-_____ ([___])

                                        Debtor.
 Tax I.D. No. XX-XXXXXXX


    CORPORATE OWNERSHIP STATEMENT PURSUANT TO FED. R. BANKR. P.
                   1007(a)(1), 1007(a)(3) AND7007.1

          Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, Debtor Cue Health Inc. (the “Debtor”) hereby states as follows:

             1. The Debtor is the direct parent of debtor CHP HC, LLC, and the indirect parent of

                 Debtor TrustedMedRx, LLC. The mailing address of the Debtor is 4980 Carroll

                 Canyon Road, Suite 100, San Diego, California 92121. The Debtor’s stock is

                 publicly traded and no parent corporation or publicly-traded corporation owns 10%

                 or more of its stock. As of the Petition Date, the Debtor only has common stock

                 outstanding.
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                                   ACTION BY UNANIMOUS WRITTEN CONSENT
                                           OF THE BOARD OF DIRECTORS OF
                                                      CUE HEALTH INC.

                    In accordance with Section 141(f) of the Delaware General Corporation Law, and the
            bylaws of Cue Health Inc., a Delaware corporation (the “Company”), the undersigned,
            constituting all of the members of the board of directors of the Company (the “Board”), hereby
            take the following actions and adopt the following resolutions by written consent without a
            meeting:

                    WHEREAS, the Board has reviewed and had the opportunity to ask questions about the
            materials presented by management and the legal and financial advisors of the Company regarding
            the indebtedness, liabilities and liquidity of the Company, the strategic alternatives available to the
            Company, and the impact of the foregoing on the Company’s business;

                    WHEREAS, the Board has had the opportunity to consult with management and the legal
            and financial advisors of the Company to fully consider, and has considered, the strategic
            alternatives available to the Company;

                    WHEREAS, on January 17, 2024, the Board established a strategic committee of the
            Board (the “Strategic Committee”), in connection with its consideration of certain strategic
            alternatives involving the Company, and on April 2, 2024, the Board expanded the authority of the
            Strategic Committee and resolved that the Strategic Committee shall have the full power and
            authority of the Board, to the maximum extent permitted by applicable law, to, among other things,
            explore, evaluate, consider, review, negotiate, approve, and (if applicable) recommend to the
            Board for approval or rejection any potential business combination transaction or other similar
            strategic transaction involving the Company (together with any alternatives thereto, a “Strategic
            Transaction”) or other transaction including bankruptcy proceedings;

                    WHEREAS, the Board further provided that the Company shall not proceed with a
            Strategic Transaction or other transaction if it has not first been approved or recommended by the
            Strategic Committee;

                    WHEREAS, the Strategic Committee has approved and recommended to the Board the
            Strategic Transaction or other transaction contemplated herein;

                   WHEREAS, the Board has reviewed and considered the financial and operational
            condition of the Company and the Company’s business on the date hereof, including the assets of
            the Company, current and long-term liabilities of the Company, and the recommendations of the
            Company’s legal and other advisors as to certain options, including commencing a liquidation of
            the Company under the provisions of chapter 7 of title 11 of the United States Code, as amended
            (the “Bankruptcy Code”);

                   WHEREAS, the Board has determined that the Company does not have sufficient capital
            to continue its operations or any other available alternatives and the Board has therefore
            determined that it is in the best interests of the Company and its stockholders, its creditors, and
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            other parties in interest to commence a case under the provisions of chapter 7 of the Bankruptcy
            Code (the “Chapter 7 Case”);

                  WHEREAS, the Company is the sole member and sole manager of CHP HC, LLC, a
            Delaware limited liability company (“CHP HC”); and

                    WHEREAS, the Board desires to take the following actions by written consent.

            I.      Commencement of Chapter 7 Case

                    NOW, THEREFORE, BE IT RESOLVED, that the Board has determined, after the
            recommendation of the Strategic Committee and consultation with management and the legal and
            financial advisors of the Company, that it is desirable and in the best interests of the Company, its
            stockholders, its creditors, and other parties in interest that a voluntary petition (the “Petition”) be
            filed by the Company with the United States Bankruptcy Court for the District of Delaware (the
            “Bankruptcy Court”) commencing the Chapter 7 Case under the provisions of chapter 7 of the
            Bankruptcy Code.

                    RESOLVED FURTHER, that the form, terms, and provisions of, the execution, delivery,
            and filing of, and the performance of the transactions and obligations contemplated by the Petition
            be, and they hereby are, authorized, approved, and adopted in all respects.

                    RESOLVED FURTHER, that Ian Sinnott (the “Authorized Person”), acting under the
            title Authorized Signatory, any other title or no title at all, be, and hereby is, authorized, directed,
            and empowered on behalf of and in the name of the Company (i) to execute and verify the Petition
            and all documents ancillary thereto, to cause such Petition to be filed with the Bankruptcy Court
            commencing the Chapter 7 Case, and to make or cause to be made prior to the execution thereof
            any modifications to such Petition or ancillary documents, (ii) to execute, verify, and file or cause
            to be filed all other petitions, schedules, lists, motions, applications, declarations, affidavits, and
            other papers or documents necessary, appropriate, advisable or desirable in connection with the
            foregoing, with such changes, additions, and modifications thereto as the Authorized Person shall
            approve, such approval to be conclusively evidenced by the Authorized Person’s execution and
            delivery thereof, and (iii) to attend the meeting of creditors pursuant to Section 341 of the
            Bankruptcy Code.

                    RESOLVED FURTHER, that the Authorized Person be, and hereby is, authorized,
            directed, and empowered, on behalf of and in the name of the Company, to pay all expenses,
            including advisors’ fees and retainers, taxes, consent payments, indemnities, and filing fees, in
            each case as in the Authorized Person’s judgment shall be necessary, appropriate, advisable or
            desirable to fully carry out the intent and accomplish the purposes of the resolutions adopted
            herein, with all such payments to be conclusive evidence of such approval and that such Authorized
            Person deemed the same to be so necessary, appropriate, advisable or desirable.

            II.     Retention of Advisors

                   RESOLVED FURTHER, that the law firm of Wilson Sonsini Goodrich & Rosati,
            Professional Corporation be and hereby is, authorized, directed, and empowered to represent the
            Company as general bankruptcy counsel on the terms set forth in such firm’s engagement letter,


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            as amended, with the Company, which engagement letter is hereby ratified and approved, and to
            represent and assist the Company in carrying out the Company’s duties under the Bankruptcy
            Code, and to take any and all actions to advance the Company’s rights, including the preparation
            of certain documents to be filed simultaneously with the Petition or during the Chapter 7 Case.

                    RESOLVED FURTHER, that FTI Consulting, Inc. be, and hereby is, authorized,
            directed, and empowered to serve the Company as financial advisor on the terms set forth in such
            firm’s engagement letter with the Company, which engagement letter is hereby ratified and
            approved, and to assist the Company in carrying out the Company’s duties under the Bankruptcy
            Code, and to take any and all actions to advance the Company’s rights and obligations.

                    RESOLVED FURTHER, that the Authorized Person be, and hereby is, authorized,
            empowered, and directed to execute and file all petitions, schedules, motions, lists, applications,
            pleadings, and other papers and, in connection therewith, to employ and retain all assistance by
            legal counsel and other professionals and to take and perform any and all further acts and deeds
            that the Authorized Person deems necessary, appropriate, advisable or desirable in connection with
            the Chapter 7 Case, with a view to the successful prosecution of such case.

                   RESOLVED FURTHER, that each of the aforementioned retained advisors of the
            Company is hereby authorized to take any and all actions necessary, appropriate, advisable or
            desirable to advance the Company’s rights and obligations in connection with the Chapter 7 Case.

            III.    Notification of Regulators

                    RESOLVED FURTHER, that, without limitation of any general authorizing resolution
            set forth herein, the Authorized Person be, and hereby is, authorized, empowered, and directed to
            notify any and all relevant local, state, and federal regulatory or other government authorities or
            self-regulatory organization of the Chapter 7 Case and all other matters associated with the shut-
            down of the business and operations of the Company and to take such other action in connection
            therewith as the Authorized Person deems necessary, appropriate, advisable or desirable, which
            shall include, without limitation, the securing of all facilities of the Company in a manner that is
            compliant with all applicable laws, rules, and regulations.

            IV.     Subsidiary Actions

                    RESOLVED FURTHER, that the Board on behalf of the Company, in its capacity as the
            sole member and sole manager of CHP HC, hereby authorizes and approves the commencement
            of a liquidation of CHP HC under the provisions of chapter 7 of the Bankruptcy Code (the
            “Subsidiary Chapter 7 Case”).

                    RESOLVED FURTHER, that the Authorized Person be, and hereby is, authorized,
            empowered and directed to execute and deliver, on behalf of and in the name of the Company, in
            its capacity as sole member and sole manager of CHP HC, any member, manager or similar consent
            to authorize CHP HC to commence the Subsidiary Chapter 7 Case.




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            V.      Approval of Meeting Minutes

                   RESOLVED FURTHER, that the minutes of the meeting of the Strategic Committee held
           on May 24, 2024, and the minutes of the meeting of the Board held on May 24, 2024, each as
           previously provided to the Board, are hereby approved.

            VI.     General Authorization and Ratification

                    RESOLVED FURTHER, that the Authorized Person be, and hereby is, authorized,
            directed, empowered, on behalf of and in the name of the Company, to perform the obligations of
            the Company under the Bankruptcy Code, with all such actions to be performed in such manner,
            and all such certificates, instruments, guaranties, notices, and documents to be executed and
            delivered in such form, as the Authorized Person shall approve, and the performance or execution
            thereof by the Authorized Person shall be conclusive evidence of the approval thereof by the
            Authorized Person and by the Company.

                     RESOLVED FURTHER, that the Authorized Person be, and hereby is, authorized,
            directed, and empowered, on behalf of and in the name of the Company, to execute, deliver, certify,
            file, record and perform under such agreements, instruments, motions, affidavits, applications for
            approvals or rulings of governmental or regulatory authorities, certificates or other documents, to
            pay all expenses, including filing fees, and to take such other actions as in the judgment of the
            Authorized Person shall be necessary, appropriate, desirable, or advisable to prosecute a successful
            completion of the Company’s Chapter 7 Case and to effectuate the liquidation of the Company’s
            debts, other obligations, organizational form and structure and ownership of the Company, all
            consistent with the foregoing resolutions and to carry out and put into effect the purposes of which
            the foregoing resolutions and the transactions contemplated by these resolutions, his authority
            thereunto to be evidenced by the taking of such actions.

                    RESOLVED FURTHER, that the Authorized Person be, and hereby is, authorized,
            directed, and empowered, on behalf of and in the name of the Company, to take such actions and
            execute and deliver such documents as may be required or as the Authorized Person may determine
            to be necessary, appropriate, desirable, or advisable to carry out the intent and purpose of the
            foregoing resolutions or to obtain the relief sought thereby, including, without limitation, the
            execution and delivery of any consents, resolutions, petitions, schedules, lists, declarations,
            affidavits, and other papers or documents, with all such actions to be taken in such manner, and all
            such petitions, schedules, lists, declarations, affidavits and other papers or documents to be
            executed and delivered in such form as the Authorized Person shall approve, the taking or
            execution thereof by the Authorized Person being conclusive evidence of the approval thereof by
            the Authorized Person and the Company.

                    RESOLVED FURTHER, that any and all past actions heretofore taken by the Authorized
            Person on behalf of and in the name of the Company in furtherance of any or all of the preceding
            resolutions be, and the same hereby are, ratified, confirmed, reaffirmed and approved in all
            respects.




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                    RESOLVED FURTHER, that the Authorized Person is authorized to place a copy of
            these resolutions in the official records of the Company to document the actions set forth herein
            as actions taken by the Board.

                                                    [Signature Page Follows]




                                                                5
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                     This action by written consent shall be effective as of the date of the last signature set forth below.
            Any copy, facsimile or other reliable reproduction of this action by written consent may be substituted or
            used in lieu of the original writing for any and all purposes for which the original writing could be used.

                                                                                           May 27, 2024
                                                                                  Date:
            Carole Faig

                                                                                          May 28, 2024
                                                                                  Date:
            Maria Martinez

                                                                                          May 27, 2024
                                                                                  Date:
            Chris Achar

                                                                                          May 28, 2024
                                                                                  Date:
            Joanne Bradford

                                                                                          May 27, 2024
                                                                                  Date:
            Joshua Ghaim

                                                                                          May 28, 2024
                                                                                  Date:
            Sachin Jain




                 [Signature Page to the Action by Unanimous Written Consent of the Board of Directors of Cue Health Inc.]
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     Fill in this information to identify the case and this filing:

   Debtor Name                                                         Cue Health Inc.

   United States Bankruptcy Court for the:                             District of Delaware
                                                                                     (State)
   Case number (If known):

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments
of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.


             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐      Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

      ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

      ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

      ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

      ☐      Schedule H: Codebtors (Official Form 206H)

      ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

      ☐      Amended Schedule

      ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form
             204)

      ☒      Other document(s) that requires a declaration Corporate Ownership Statement

I declare under penalty of perjury that the foregoing is true and correct.

      Executed on                     05/28/2024                                 /s/ Ian Sinnott
                                      MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                Ian Sinnott
                                                                                Printed name
                                                                                Authorized Representative
                                                                                Position or relationship to debtor

Official Form 202                        Declaration Under Penalty of Perjury for Non-Individual Debtor




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                                   Chapter 7

    CUE HEALTH INC.,1                                                        Case No. 24-_____ ([___])

                                                Debtor.
    Tax I.D. No. XX-XXXXXXX


    In re:                                                                   Chapter 7

    CHP HC, LLC,                                                             Case No. 24-_____ ([___])

                                                Debtor.
    Tax I.D. No. XX-XXXXXXX

    In re:                                                                   Chapter 7

    TRUSTEDMEDRX, LLC,                                                       Case No. 24-_____ ([___])

                                                Debtor.
    Tax I.D. No. XX-XXXXXXX

              DISCLOSURE OF COMPENSATION OF ATTORNEYS FOR DEBTORS

             1.     Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that my firm,

Wilson Sonsini Goodrich & Rosati, P.C. (“WSGR”), is counsel for the above-captioned debtors

(the “Debtors”) and that compensation paid to WSGR within one year before the filing of the

petition in bankruptcy, or agreed to by paid to WSGR, for services rendered or to be rendered on

behalf of the Debtors in contemplation of or in connection with the bankruptcy cases is as follows:

             For general restructuring legal services, WSGR has agreed to accept……$1,245,434.81




1
      The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: Cue Health Inc. (2193); CHP HC, LLC (1932); and TrustedMedRX, LLC (8798). The Debtors’
      service address is 4980 Carroll Canyon Rd., Ste. 100, San Diego, CA 92121.



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        For legal fees associated with these chapter 7 cases………….……………….$150,000.002

        For costs related to the chapter 7 petitions fees and Form 8-K filing fee…….….$3,014.003

        Prior to filing this statement, WSGR has received…………………..…….…$1,245,434.81

        Balance Due…………………………………………………….…………………….$0.00

        2.       The source of the compensation paid to WSGR was Debtor Cue Health Inc.

        3.       Other than as set forth herein, WSGR has not agreed to share the above-disclosed

compensation with any other person, unless they are a partner, counsel, or associate of WSGR.

        4.       In return for the above-disclosed legal fees of $150,000, WSGR has agreed to

render legal services relating to these bankruptcy cases from May 27, 2024 forward, including:

                 a.       Analyzing the Debtors’ financial situation, and rendering advice to the
                          Debtors in determining whether to file bankruptcy petitions;

                 b.       Preparing and filing documents that may be required;

                 c.       Preparation and filing of a Form 8-K in connection with the chapter 7 filings;

                 d.       Review and filing of schedules of assets and liabilities and statements of
                          financial affairs;

                 e.       Representing the Debtors at the meeting of creditors, and any adjourned
                          hearings thereof; and

                 f.       Representing the Debtors as may otherwise be required to advise the
                          Debtors regarding their rights and responsibilities as debtors under chapter
                          7 of the Bankruptcy Code and the Bankruptcy Rules.




2
    This amount was agreed to be paid to WSGR as a flat fee for the legal services listed at section 4 below in the
    chapter 7 cases from May 27, 2024 forward. This amount is also included within the general restructuring legal
    services line of $1,245,434.81.
3
    The costs include chapter 7 petition fees of $1,014.00 which will be paid to the Clerk of the Court and costs of
    $2,000 which will be paid to Donnelly Financial, LLC with respect to the form 8-K filing Cue Health Inc. will
    make on the petition date with the Securities and Exchange Commission. This amount is also included within the
    general restructuring legal services line for of $1,245,434.81.



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       5.        By agreement with the Debtors, the above-disclosed fee does not include the

representation of the Debtors in adversary proceedings and other contested bankruptcy matters,

nor does it include any future non-bankruptcy representation.




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                                      CERTIFICATION

       I hereby certify that the foregoing is a complete statement of any agreement or arrangement

for payment to WSGR for representation of the Debtors in these bankruptcy proceedings.

 Dated: May 28, 2024                    WILSON SONSINI GOODRICH & ROSATI, P.C.
        Wilmington, Delaware
                                        /s/ Erin R. Fay
                                        Erin R. Fay (No. 5268)
                                        Catherine C. Lyons (No. 6854)
                                        222 Delaware Avenue, Suite 800
                                        Wilmington, Delaware 19801
                                        Telephone: (302) 304-7600
                                        E-mails: efay@wsgr.com
                                                   clyons@wsgr.com


                                        Proposed Counsel to the Debtors




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